          Case 8:23-bk-10571-SC                  Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                                        Desc
                                                  Main Document    Page 1 of 52

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address




      Debtor(s) appearing without an attorney
      Attorney for: Off. Committee of Unsecured Creditors

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA -                                                    DIVISION

 In re:                                                                      CASE NO.:
                                                                             CHAPTER: 11



                                                                                        NOTICE OF OPPORTUNITY TO
                                                                                      REQUEST A HEARING ON MOTION

                                                                                                      [LBR 9013-1(o)]


                                                                                          [No hearing unless requested in writing]
                                                              Debtor(s).

TO THE U.S. TRUSTEE AND ALL PARTIES ENTITLED TO NOTICE, PLEASE TAKE NOTICE THAT:

1. Movant(s) ____________________________________________________________________________________,
   filed a motion or application (Motion) entitled _________________________________________________________
   _____________________________________________________________________________________________.

2. Movant(s) is requesting that the court grant the Motion without a hearing as provided for in LBR 9013-1(o), unless a
   party in interest timely files and serves a written opposition to the Motion and requests a hearing.

3. The Motion is based upon the legal and factual grounds set forth in the Motion. (Check appropriate box below):
          The full Motion is attached to this notice; or
          The full Motion was filed with the court as docket entry # _____, and a detailed description of the relief sought is
          attached to this notice.

4. DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
   LBR 9013-1(o), any party who opposes the Motion may request a hearing on the Motion. The deadline to file and serve
   a written opposition and request for a hearing is 14 days after the date of service of this notice, plus 3 additional days if
   you were served by mail or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).


          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                           Page 1               F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
        Case 8:23-bk-10571-SC                   Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                                        Desc
                                                 Main Document    Page 2 of 52

    a. If you timely file and serve a written opposition and request for a hearing, movant will file and serve a notice of
       hearing at least 14 days in advance of the hearing. [LBR 9013-1(o)(4)]

    b. If you fail to comply with this deadline:

        (1) Movant will file a declaration to indicate: (1) the Motion was properly served, (2) the response period elapsed,
            and (3) no party filed and served a written opposition and request for a hearing within 14 days after the date
            of service of the notice [LBR 9013-1(o)(3)];
        (2) Movant will lodge an order that the court may use to grant the Motion; and
        (3) The court may treat your failure as a waiver of your right to oppose the Motion and may grant the Motion
            without further hearing and notice. [LBR 9013-1(h)]




                                                                      Respectfully submitted,



Date:                                                                                                                                    .
                                                                      Signature of Movant or attorney for Movant

                                                                                                                                         .
                                                                      Printed name of Movant or attorney for Movant




         This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                          Page 2               F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
Case 8:23-bk-10571-SC        Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05         Desc
                              Main Document    Page 3 of 52


 1   Michael A. Sweet (SBN 184345)
     Keith C. Owens (SBN 184841)
 2   Nicholas A. Koffroth (SBN 287854)
     FOX ROTHSCHILD LLP
 3   10250 Constellation Blvd., Suite 900
     Los Angeles CA 90067
 4   Telephone:    (310) 598-4150
     Facsimile:    (310) 556-9828
 5   msweet@foxrothschild.com
     kowens@foxrothschild.com
 6   nkoffroth@foxrothschild.com
 7   Proposed Counsel For Official Committee of Unsecured Creditors
 8

 9                           UNITED STATES BANKRUPTCY COURT
10                            CENTRAL DISTRICT OF CALIFORNIA
11                                     SANTA ANA DIVISION
12    In re:                                       Chapter 11
13    THE LITIGATION PRACTICE GROUP                Case No. 8:23-bk-10571-SC
      P.C.,
14                                                 APPLICATION FOR ORDER
15                                                 AUTHORIZING EMPLOYMENT OF
               Debtor.                             FOX ROTHSCHILD LLP AS COUNSEL
16                                                 FOR THE OFFICIAL COMMITTEE OF
                                                   UNSECURED CREDITORS, EFFECTIVE
17                                                 AS OF JUNE 29, 2023; DECLARATIONS
                                                   OF NICHOLAS A. KOFFROTH AND
18                                                 APRIL RIEDY IN SUPPORT THEREOF

19                                                 [No Hearing Required Pursuant to
                                                   LBR 9013-1(o)]
20

21

22

23

24

25

26

27

28

     147119597.2
Case 8:23-bk-10571-SC         Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                               Main Document    Page 4 of 52


 1           The Official Committee of Unsecured Creditors (the “Committee”) of The Litigation
 2   Practice Group, P.C. (the “Debtor”), in the above-referenced bankruptcy case (the “Bankruptcy
 3   Case”) pending under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),1
 4   hereby submits this application (the “Application”) for the entry of an order, substantially in the
 5   form attached hereto as Exhibit A, authorizing the retention and employment of Fox Rothschild
 6   LLP (“Fox”) as counsel for the Committee, effective as of June 29, 2023, pursuant to § 1103(a),
 7   Rule 2014 the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2014-1
 8   of the Local Bankruptcy Rules for the Central District of California (the “Local Rules”). In support
 9   of the Application, the Committee submits the declaration of Nicholas A. Koffroth (the “Koffroth
10   Declaration”) and the declaration of April Riedy (the “Riedy Declaration”), and respectfully states
11   as follows:
12                                                     I.
13                                     FACTUAL BACKGROUND
14   A.      General Background
15           On March 20, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for relief
16   under chapter 11 of the Bankruptcy Code.
17           On May 4, 2023, the Court entered an order [Docket No. 58] appointing Richard Marshack
18   as the chapter 11 trustee in this Bankruptcy Case (the “Trustee”). On June 13, 2023, the Trustee
19   filed a motion [Docket No. 102] for the approval of reimbursement procedures for counsel to a
20   proposed ad hoc committee of consumer claimants. On June 27, 2023, the Court entered an order
21   [Docket No. 151] approving a stipulation [Docket No. 149] voluntarily dismissing the ad hoc
22   committee motion in light of the appointment of the Committee and the agreement that a majority
23   of the Committee’s members will remain consumer claimants.
24           On June 23, 2023, the Office of the United States Trustee (the “UST”) appointed [Docket
25   No. 134] the Committee, which consisted of the following five members: Alexadra Lufti; April
26   Riedy; Denise Burtchell; Angela Dows; and Thomas Ray. On June 29, 2023, the UST expanded
27   1
       Unless otherwise defined herein, all references to “Section” or “§” refer to a section of the
28   Bankruptcy Code and all references to “Rule” refer to a rule of the Federal Rules of Bankruptcy
     Procedure.
     147119597.2
Case 8:23-bk-10571-SC          Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                                Main Document    Page 5 of 52


 1   [Docket No. 157] the Committee’s membership from five to seven members with the addition of
 2   Affirma, LLC and Abigail R. Beaudin. On June 29, 2023, the Committee duly selected Fox as
 3   counsel to represent it during the pendency of the Bankruptcy Case.
 4           Effective as of July 3, 2023, the Committee adopted bylaws governing the decision-making
 5   and conduct of the Committee. Pursuant to the bylaws, April Riedy was duly appointed chair of
 6   the Committee.
 7   B.      Qualifications of Fox Rothschild LLP
 8           Fox is a national, full-service law firm comprising over 1,000 attorneys across 29 offices,
 9   including in Los Angeles. Three of the Fox attorneys working on this matter, Michael Sweet, Keith
10   Owens, and Nicholas Koffroth, are well-recognized members of the California bar with significant
11   experience in bankruptcy matters. The resumes of Messrs. Sweet, Owens and Koffroth are attached
12   as Exhibit 1 to the Koffroth Declaration.
13           The Committee has retained Fox as its counsel because of Fox’s extensive knowledge and
14   expertise in the areas of law relevant to the Bankruptcy Case and believes that Fox is well qualified
15   to represent the Committee. In selecting its counsel, the Committee sought counsel with experience
16   in representing creditors’ committees in large chapter 11 cases and other debt-restructuring
17   scenarios. Fox has such experience, having represented a number of creditors’ committees in
18   significant cases under chapter 11 of the Bankruptcy Code. Among some of the more recent
19   committee engagements, Fox has represented (or is currently representing) official creditors’
20   committees in the following chapter 11 cases of national significance:
21           a.     AeroFarms, Inc. (Case No. 23-10737, Bankr. D. Del.);
22           b.     Boxed Inc. (Case No. 23-10397, Bankr. D. Del.);
23           c.     Tuesday Morning Corporation (Case No. 23-90001, Bankr. N.D. Tex.);
24           d.     Better Nutritionals, LLC (Case No. 22-14723, Bankr. C.D. Cal.);
25           e.     Custom Alloy Corporation (Case No. 22-18143, Bankr. D.N.J.);
26           f.     Genocea Biosciences (Case No. 22-10938, Bankr. D. Mass.);
27           g.     Enjoy Technology, Inc. (Case No. 22-10580, Bankr. D. Del);
28           h.     Assuncao Bros., Inc. (Case No. 22-16159, Bankr. D.N.J.);
                                                    2
     147119597.2
Case 8:23-bk-10571-SC           Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                Desc
                                 Main Document    Page 6 of 52


 1           i.     Avadim Health, Inc. (Case No. 21-10883, Bankr. D. Del);
 2           j.     Katerra Inc. (Case No. 21-31861, Bankr. S.D. Tex);
 3           k.     Unipharma LLC (Case No. 21-60367, Bankr. S.D. Fla);
 4           l.     MobiTV Inc. (Case No. 21-10457, Bankr. D. Del); and
 5           m.     Remington Outdoor Company (Case No. 18-10684, Bankr. D. Del).
 6           Fox is familiar with the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy
 7   Rules, and the Guidelines of the Office of the United States Trustee, and will comply with them.
 8   Based on the foregoing, the Committee believes that Fox and its attorneys are well-qualified to
 9   represent it in the Bankruptcy Case.
10                     C. SCOPE OF FOX ROTHSCHILD LLP’S PROPOSED RETENTION.
11           The Committee proposed to retain Fox as its general bankruptcy counsel, effective as of
12   June 29, 2023. The scope of Fox’s proposed retention under § 1103(a) will include the following
13   services:
14           a.     participate in in-person and telephonic meetings of the Committee and any
15                  subcommittees formed thereby, and otherwise advise the Committee with respect to
16                  its rights, powers, and duties in the Bankruptcy Case;
17           b.     assist and advise the Committee in its consultations, meetings and negotiations with
18                  the Trustee and all other parties in interest regarding the administration of the
19                  Bankruptcy Case;
20           c.     assist the Committee in analyzing the claims asserted against and interests asserted
21                  in the Debtor’s estate, and in negotiating with the holders of such claims and
22                  interests, and bringing, or participating in, objections or estimation proceedings with
23                  respect to such claims or interests;
24           d.     assist with the Committee’s review of any schedules of assets and liabilities,
25                  statement of financial affairs and other financial reports prepared by the Trustee,
26                  and the Committee’s investigation of the acts, conduct, assets, liabilities, and
27                  financial condition of the Debtor and of the historic and ongoing operation of its
28                  business;
                                                       3
     147119597.2
Case 8:23-bk-10571-SC          Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                Desc
                                Main Document    Page 7 of 52


 1           e.     assist the Committee in its analysis of, and negotiations with, the Trustee or any
 2                  third party related to, among other things, financings, asset disposition transactions
 3                  under § 363, compromises of controversies, and assumption or rejection of
 4                  executory contracts and unexpired leases;
 5           f.     assist the Committee in its analysis or preparation of, and negotiations with, the
 6                  Trustee or any third party related to, the negotiation, formulation, confirmation, and
 7                  implementation of a chapter 11 plan, and all documentation related thereto;
 8           g.     assist and advise the Committee with respect to its communications with the general
 9                  creditor body regarding significant matters in the Bankruptcy Case;
10           h.     respond to inquiries from individual creditors as to the status of, and developments
11                  in, the Bankruptcy Case;
12           i.     represent the Committee at all hearings and other proceedings before the Court and
13                  such other courts or tribunals, as appropriate;
14           j.     review and analyze all complaints, motions, applications, orders, and other
15                  pleadings filed with the Court, and advise the Committee with respect to its position
16                  thereon and the filing of any response thereto;
17           k.     assist the Committee in preparing pleadings and applications, and pursuing or
18                  participating in adversary proceedings, contested matters, and administrative
19                  proceedings as may be necessary or appropriate in furtherance of the Committee’s
20                  interests and objectives; and
21           l.     perform such other legal services as may be necessary or as may be requested by the
22                  Committee in accordance with the Committee’s powers and duties as set forth in the
23                  Bankruptcy Code.
24                                                    II.
25                                        RELIEF REQUESTED
26           By this Application, the Committee respectfully requests entry of an order, substantially in
27   the form attached hereto as Exhibit A, authorizing the employment and retention of Fox as
28   attorneys for the Committee, effective as of June 29, 2023, pursuant to § 1103(a), Bankruptcy Rule
                                                      4
     147119597.2
Case 8:23-bk-10571-SC          Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                                Main Document    Page 8 of 52


 1   2014, and Local Rule 2014-1, with compensation and reimbursement of expenses subject to Court
 2   approval and in accordance with §§ 330 and 331.
 3                                                    III.
 4                                         BASIS FOR RELIEF
 5           The Committee respectfully requests that the Court authorize retention of Fox as its counsel,
 6   pursuant to § 1103(a), which provides that a committee appointed under § 1102 “may select and
 7   authorize the employment by such committee of one or more attorneys, accountants, or other
 8   agents, to represent or perform services for such committee.” 11 U.S.C. § 1103(a).
 9           Bankruptcy Rule 2014(a) requires that an application for retention include:
10                  [S]pecific facts showing the necessity for the employment, the name
                    of the [firm] to be employed, the reasons for the selection, the
11                  professional services to be rendered, any proposed arrangement for
                    compensation, and, to the best of the applicant’s knowledge, all of
12                  the [firm’s] connections with the debtor, creditors, any other party in
                    interest, their respective attorneys and accountants, the United States
13                  trustee, or any person employed in the office of the United States
                    trustee.
14
     FED. R. BANKR. P. 2014(a). Local Rule 2014-1(b)(1) further provides that:
15
                    (A) An application seeking approval of employment of a
16                  professional person pursuant to 11 U.S.C. §§ 327, 328, 1103(a), or
                    1114 must comply with the requirements of FRBP 2014 and 6003(a)
17                  and be filed with the court. The application must specify
                    unambiguously whether the professional seeks compensation
18                  pursuant to 11 U.S.C. § 328 or 11 U.S.C. § 330.
19                  (B) The application must be accompanied by a declaration of the
                    person to be employed establishing disinterestedness or disclosing
20                  the nature of any interest held by such person.
21                  (C) The application must contain proof of service upon the United
                    States trustee, and may be served and ruled on pursuant to LBR 9013-
22                  1(o).
23                                                   ***
24                  (E) A timely application for employment is a prerequisite to
                    compensation from the estate. Therefore, . . . an application for
25                  employment of any other professional person should be filed as
                    promptly as possible after such person has been engaged.
26
     LBR 2014-1(b)(1).
27

28
                                                       5
     147119597.2
Case 8:23-bk-10571-SC          Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                                Main Document    Page 9 of 52


 1           The Committee submits that for all the reasons stated herein, and in the Riedy Declaration
 2   and Koffroth Declaration, the retention of Fox as counsel to the Committee is warranted. Further,
 3   as stated in the Koffroth Declaration, Fox is a “disinterested person” within the meaning of
 4   § 101(14) and does not hold or represent an interest adverse to the Debtor’s estate and has no
 5   connection to the Debtor, its creditors or its related parties, except as may be disclosed in the
 6   Koffroth Declaration. Moreover, the Committee has complied with the requirements of LBR 2014-
 7   1 with respect to this Application and the notice of this Application. Accordingly, the retention of
 8   Fox as counsel to the Committee should be approved.
 9                                                     IV.
10                                         LEGAL ARGUMENT
11   A.      Fox Does Not Hold Adverse Interests to the Committee.
12           Section 1103(b) provides that a law firm may serve as counsel to an unsecured creditors’
13   committee as long as it does not represent any other entity having an adverse interest in connection
14   with the case and that representation of one or more of the creditors of the same class as represented
15   by the committee does not per se constitute the representation of an adverse interest. 11 U.S.C.
16   1103(b).
17           To the best of the Committee’s knowledge, information and belief, and other than the
18   connections described in the Koffroth Declaration, Fox has no interest materially adverse to (a) the
19   interest of the Debtor’s estate, (b) the Committee, (c) of any class of the Debtor’s creditors, either
20   by reason of any direct or indirect relationship to, or connection with, the Debtor or for any other
21   reason, or (d) the Trustee. Pursuant to Bankruptcy Rule 2014(a), the Koffroth Declaration sets forth
22   Fox’s known connections, if any, with the Debtor, its creditors, and other known parties in interest.
23   The Koffroth Declaration also discloses the method in which Fox has reviewed its own records and
24   files and has obtained information in connection with matters set forth herein. Finally, the Koffroth
25   Declaration sets forth the manner in which Fox will continue to review its files in connection with
26   this Application to make further disclosures as warranted.
27           Fox has informed the Committee that to the best of Fox’s knowledge, none of the attorneys
28   comprising or employed by Fox are related to any judge of the United States Bankruptcy Court for
                                                    6
     147119597.2
Case 8:23-bk-10571-SC           Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                Desc
                                Main Document     Page 10 of 52


 1   the Central District of California, the United States Trustee or any person employed in the Office
 2   of the United States Trustee. In the future, if any fact is discovered that may create an actual or
 3   potential conflict or that bears upon Fox’s continued disinterestedness, Fox will give notice to those
 4   interested parties entitled to notice.
 5           Except to the extent the Court allows payment of compensation to Fox out of the assets of
 6   the estate, Fox has no compensation arrangements with the Debtor, the Committee, or any other
 7   individual or entity associated with this bankruptcy case.
 8   B.      Fox’s Fee and Expense Schedule Is Reasonable.
 9           Subject to the applicable provisions of the Bankruptcy Code, the Firm will be paid by the
10   Debtor’s estate based on Fox’s customary hourly rates in effect from time to time and reimbursed
11   according to its customary reimbursement policies. The Firm’s current hourly rates for individuals
12   who are likely to work on this Bankruptcy Case are as follows:
13                      Michael A Sweet – Partner                   $890.00
                        Keith C. Owens – Partner                    $820.00
14                      Michael Herz - Partner                      $620.00
                        Nicholas A. Koffroth – Associate            $640.00
15
                        Stephanie Slater Ward – Associate           $455.00
16                      Other Attorneys at Fox                      $210.00 – 1,075.00
                        Paralegals                                  $100.00 – 465.00
17
     The proposed hourly rates are comparable to the fees charged to non-bankruptcy clients.
18           Copies of the individual profiles of the attorneys at Fox who are currently staffed on
19   this matter are attached to the Koffroth Declaration as Exhibit 1. As this Bankruptcy Case
20   proceeds, additional Fox partners, associates and paralegals may be assigned to work on this
21   Bankruptcy Case, and others currently assigned may complete their assigned tasks.             To the
22   fullest extent possible, lawyers having the requisite expertise who already have knowledge
23   with respect to these areas and/or the matter involved will be assigned to this Bankruptcy
24   Case so that duplication of efforts is avoided.       Consistent with the ranges of hourly rates
25   described above, the hourly rates of the other Fox partners, associates and paralegals that
26   hereafter act for the Committee may be higher or lower than those of the persons presently
27   assigned to this matter.
28
                                                       7
     147119597.2
Case 8:23-bk-10571-SC          Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                               Main Document     Page 11 of 52


 1           The hourly rates set forth above are subject to annual adjustments, usually on June 1st
 2   of each year. Fox will timely notify the Trustee, the Committee, the UST, and the Court of any
 3   such changes, which changes will be subject to the Court’s approval.
 4           The hourly rates set forth above are Fox’s normal hourly rates for work of this type.
 5   These rates are set at a level designed to fairly compensate Fox for the work of its attorneys and
 6   paralegals and to cover fixed and routine overhead expenses.       In addition, it is Fox’s policy to
 7   charge its clients in all areas of practice for certain other expenses incurred in connection with
 8   the client’s case.    The expenses charged to clients include, among other things, charges for
 9   messenger services, overnight delivery services, photocopying, court fees, travel expenses,
10   working meals, postage, materials for large mailings, computerized legal research facilities,
11   computerized document inventory and control, investigative searches, and other charges
12   customarily invoiced by law firms in addition to fees for legal services.   Fox will charge for these
13   expenses in a manner and at rate consistent with charges made generally to Fox’s other clients.
14   C.      Disclosure of Retainer
15           Fox did not receive a retainer with respect to its representation of the Committee, and there
16   is no retainer agreement between the Committee and Fox. It is intended that this Application and
17   the Court’s order approving Fox’s retention will govern Fox’s employment in this Bankruptcy
18   Case, with the Court retaining jurisdiction to resolve any issue that might arise. Payment of Fox
19   will be by the Debtor’s estate not by the individual members of the Committee.
20   D.      Disclosure of Employment Agreement
21           Fox will receive compensation solely from the Debtor’s estate on the terms set forth herein
22   and the procedures established by this Court. With the exception of this Application, there is no
23   other agreement regarding Fox’s employment and there are no arrangements between Fox and any
24   other entity for the sharing of compensation received or to be received in connection with the
25   Bankruptcy Case, except insofar as compensation may be shared among members of Fox.
26

27

28
                                                       8
     147119597.2
Case 8:23-bk-10571-SC        Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05             Desc
                             Main Document     Page 12 of 52


 1   E.      Statement regarding U.S. Trustee Guidelines
 2           The Committee has been advised by Fox that United States Trustee Program has adopted
 3   Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses (“Fee
 4   Applications”) filed under 11 U.S.C. § 330 (“U.S. Trustee Guidelines”)
 5           Subject to Court approval and, in accordance with §§ 330 and 331, Fox has advised the
 6   Committee that it intends to apply to the Court for compensation and reimbursement of expenses
 7   in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the
 8   Local Rules, U.S. Trustee Guidelines, and any administrative compensation order entered in this
 9   Bankruptcy Case. The proposed rates of compensation, subject to final Court approval, are the
10   customary hourly rates in effect when services are performed by the attorneys, paralegals, and
11   staff who provide services to the Committee. These hourly rates are subject to periodic
12   adjustment and the Committee has been advised of that fact.
13           Fox has not shared or agreed to share any compensation related to the services to be
14   rendered as bankruptcy counsel for the Committee with any other person, except as among Fox
15   firm members and/or employees and counsel.
16                          [The remainder of this page is intentionally blank.]
17

18

19

20

21

22

23

24

25

26

27

28
                                                     9
     147119597.2
Case 8:23-bk-10571-SC          Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                Desc
                               Main Document     Page 13 of 52


 1                                                     V.
 2                                            CONCLUSION
 3           The Committee respectfully requests that the Court enter an order, substantially in the form
 4   attached hereto as Exhibit A: (i) approving the Application; (i) authorizing the Committee to retain
 5   Fox effective as of June 29, 2023, with compensation and reimbursement of expenses to be paid as
 6   an administrative expense in such amounts as this Court may hereafter allow; and (iii) granting the
 7   Committee such other and further relief as is just and appropriate under the circumstances.
 8

 9   Dated: July 28, 2023                          Respectfully submitted,
10                                                 FOX ROTHSCHILD LLP
11
                                                   By: /s/ Nicholas A. Koffroth
12                                                 Proposed Counsel to Official Committee
13                                                 of Unsecured Creditors

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     10
     147119597.2
Case 8:23-bk-10571-SC   Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05   Desc
                        Main Document     Page 14 of 52



                                   Exhibit A
Case 8:23-bk-10571-SC          Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05             Desc
                               Main Document     Page 15 of 52


 1   Michael A. Sweet (SBN 184345)
     Keith C. Owens (SBN 184841)
 2   Nicholas A. Koffroth (SBN 287854)
     FOX ROTHSCHILD LLP
 3   10250 Constellation Blvd., Suite 900
     Los Angeles CA 90067
 4   Telephone:    (310) 598-4150
     Facsimile:    (310) 556-9828
 5   msweet@foxrothschild.com
     kowens@foxrothschild.com
 6   nkoffroth@foxrothschild.com
 7   Proposed Counsel For Official Committee of Unsecured Creditors
 8

 9                             UNITED STATES BANKRUPTCY COURT
10                              CENTRAL DISTRICT OF CALIFORNIA
11                                       SANTA ANA DIVISION
12    In re:                                          Chapter 11
13    THE LITIGATION PRACTICE GROUP                   Case No. 8:23-bk-10571-SC
      P.C.,
14                                                    ORDER AUTHORIZING
15                                                    EMPLOYMENT OF FOX ROTHSCHILD
                Debtor.                               LLP AS COUNSEL FOR THE OFFICIAL
16                                                    COMMITTEE OF UNSECURED
                                                      CREDITORS, EFFECTIVE AS OF
17                                                    JUNE 29, 2023
18                                                    [No Hearing Required Pursuant to
                                                      LBR 9013-1(o)]
19

20

21             The Court, having considered the Application for Order Authorizing Employment of Fox
22   Rothschild LLP as Counsel for the Official Committee of Unsecured Creditors, Effective as of June
23   29, 2023 [Docket No. ____] (the “Application”), filed by the Official Committee of Unsecured
24   Creditors (the “Committee”), and the accompanying declarations in support thereof, and the
25   Court being satisfied that Fox Rothschild LLP does not represent any other entity having an
26   adverse interest in connection with this case, and finding that notice of the Application is
27   sufficient under the circumstances, and good cause appearing therefor,
28
Case 8:23-bk-10571-SC         Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                Desc
                              Main Document     Page 16 of 52


 1          IT IS HEREBY ORDERED as follows:
 2          1.     The Application is APPROVED.
 3          2.     The Committee is authorized to retain and employ Fox Rothschild LLP as counsel
 4   to the Committee effective as of June 29, 2023.
 5          3.     Fox is authorized to perform the services described in the Application, with
 6   compensation for such services to be paid from the Debtor’s estate in such amounts and at such
 7   time as the Court may hereafter allow.
 8          4.     The Court shall retain jurisdiction to interpret, implement, and enforce the terms of
 9   this Order.
10                                                 ###
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       2
Case 8:23-bk-10571-SC            Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05           Desc
                                 Main Document     Page 17 of 52


 1   Michael A. Sweet (SBN 184345)
     Keith C. Owens (SBN 184841)
 2   Nicholas A. Koffroth (SBN 287854)
     FOX ROTHSCHILD LLP
 3   10250 Constellation Blvd., Suite 900
     Los Angeles CA 90067
 4   Telephone:    (310) 598-4150
     Facsimile:    (310) 556-9828
 5   msweet@foxrothschild.com
     kowens@foxrothschild.com
 6   nkoffroth@foxrothschild.com
 7   Proposed Counsel For Official Committee of Unsecured Creditors
 8

 9                              UNITED STATES BANKRUPTCY COURT
10                               CENTRAL DISTRICT OF CALIFORNIA
11                                         SANTA ANA DIVISION
12    In re:                                             Chapter 11
13    THE LITIGATION PRACTICE GROUP                      Case No. 8:23-bk-10571-SC
      P.C.,
14                                                       DECLARATION OF NICHOLAS A.
15                                                       KOFFROTH IN SUPPORT
                Debtor.                                  APPLICATION FOR ORDER
16                                                       AUTHORIZING EMPLOYMENT OF
                                                         FOX ROTHSCHILD LLP AS COUNSEL
17                                                       FOR THE OFFICIAL COMMITTEE OF
                                                         UNSECURED CREDITORS,
18                                                       EFFECTIVE AS OF JUNE 29, 2023
19
                                                         [No Hearing Required Pursuant to
20                                                       LBR 9013-1(o)]

21

22             I, Nicholas A, Koffroth, hereby declare and state as follows:

23             1.     I am an attorney with the law firm Fox Rothschild LLP (the “Firm” or “Fox”),

24   proposed counsel to the Official Committee of Unsecured Creditors in the above captioned case

25   (the “Committee”). I am authorized to make this declaration on behalf of the Firm in support of

26   the Application for Order Authorizing Employment of Fox Rothschild LLP as Counsel for the

27

28
Case 8:23-bk-10571-SC          Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                               Main Document     Page 18 of 52


 1   Official Committee of Unsecured Creditors, Effective as of June 29, 2023 (the “Application”)2 and
 2   for any other purpose authorized by law. In the capacity as proposed counsel, and except as
 3   otherwise indicated herein, I have personal knowledge of the facts set forth below, and if called as
 4   a witness I could and would competently testify to the matters set forth in this declaration.
 5   A.     The Appointment of the Committee and Retention of Fox
 6          2.      On June 29, 2023, the Committee retained the Firm as its proposed counsel to
 7   represent it during the pendency of the Bankruptcy Case.
 8          3.      Effective as of July 3, 2023, the Committee adopted bylaws governing the decision-
 9   making and conduct of the Committee. Pursuant to the bylaws, April Riedy was duly appointed
10   chair of the Committee.
11   B.     Fox’s Experience
12          4.      Fox is a national, full-service law firm comprising over 1,000 attorneys across 29
13   offices, including in Los Angeles. Michael Sweet, Keith Owens, and I are well-recognized
14   members of the California bar with significant experience in bankruptcy matters. True and correct
15   copies of the resumes of Mr. Sweet, Mr. Owens, myself, and other Firm attorneys that are
16   anticipated to work on this matter are attached as Exhibit 1 hereto.
17          5.      Fox has such experience representing creditors’ committees in large chapter 11
18   cases and other debt-restructuring scenarios, and has represented a number of creditors’ committees
19   in significant cases under chapter 11 of the Bankruptcy Code. Among some of the more recent
20   committee engagements, Fox has represented (or is currently representing) official creditors’
21   committees in the following chapter 11 cases of national significance:
22                  a.      AeroFarms, Inc. (Case No. 23-10737, Bankr. D. Del.);
23                  b.      Boxed Inc. (Case No. 23-10397, Bankr. D. Del.);
24                  c.      Tuesday Morning Corporation (Case No. 23-90001, Bankr. N.D. Tex.);
25                  d.      Better Nutritionals, LLC (Case No. 22-14723, Bankr. C.D. Cal.);
26                  e.      Custom Alloy Corporation (Case No. 22-18143, Bankr. D.N.J.);
27   2
      Unless otherwise defined herein, all capitalized terms have the definitions set forth in the
     Application.
28
                                                       2
Case 8:23-bk-10571-SC         Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                              Main Document     Page 19 of 52


 1                  f.     Genocea Biosciences (Case No. 22-10938, Bankr. D. Mass.);
 2                  g.     Enjoy Technology, Inc. (Case No. 22-10580, Bankr. D. Del);
 3                  h.     Assuncao Bros., Inc. (Case No. 22-16159, Bankr. D.N.J.);
 4                  i.     Avadim Health, Inc. (Case No. 21-10883, Bankr. D. Del);
 5                  j.     Katerra Inc. (Case No. 21-31861, Bankr. S.D. Tex);
 6                  k.     Unipharma LLC (Case No. 21-60367, Bankr. S.D. Fla);
 7                  l.     MobiTV Inc. (Case No. 21-10457, Bankr. D. Del); and
 8                  m.     Remington Outdoor Company (Case No. 18-10684, Bankr. D. Del).
 9          6.      I am, and the attorneys at Fox are, familiar with the Bankruptcy Code, the
10   Bankruptcy Rules, the Local Bankruptcy Rules, and the Guidelines of the Office of the United
11   States Trustee, and will comply with them.
12   C.     The Scope of Fox’s Retention
13          7.      I understand that the Committee proposed to retain Fox as its general bankruptcy
14   counsel, effective as of June 29, 2023. The scope of Fox’s proposed retention under § 1103(a) will
15   include the following services:
16                  a.     participate in in-person and telephonic meetings of the Committee and any
17                         subcommittees formed thereby, and otherwise advise the Committee with
18                         respect to its rights, powers, and duties in the Bankruptcy Case;
19                  b.     assist and advise the Committee in its consultations, meetings and
20                         negotiations with the Trustee and all other parties in interest regarding the
21                         administration of the Bankruptcy Case;
22                  c.     assist the Committee in analyzing the claims asserted against and interests
23                         asserted in the Debtor’s estate, and in negotiating with the holders of such
24                         claims and interests, and bringing, or participating in, objections or
25                         estimation proceedings with respect to such claims or interests;
26                  d.     assist with the Committee’s review of any schedules of assets and liabilities,
27                         statement of financial affairs and other financial reports prepared by the
28                         Trustee, and the Committee’s investigation of the acts, conduct, assets,
                                                 3
Case 8:23-bk-10571-SC   Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05               Desc
                        Main Document     Page 20 of 52


 1                  liabilities, and financial condition of the Debtor and of the historic and
 2                  ongoing operation of its business;
 3            e.    assist the Committee in its analysis of, and negotiations with, the Trustee or
 4                  any third party related to, among other things, financings, asset disposition
 5                  transactions under § 363, compromises of controversies, and assumption or
 6                  rejection of executory contracts and unexpired leases;
 7            f.    assist the Committee in its analysis or preparation of, and negotiations with,
 8                  the Trustee or any third party related to, the negotiation, formulation,
 9                  confirmation, and implementation of a chapter 11 plan, and all
10                  documentation related thereto;
11            g.    assist and advise the Committee with respect to its communications with the
12                  general creditor body regarding significant matters in the Bankruptcy Case;
13            h.    respond to inquiries from individual creditors as to the status of, and
14                  developments in, the Bankruptcy Case;
15            i.    represent the Committee at all hearings and other proceedings before the
16                  Court and such other courts or tribunals, as appropriate;
17            j.    review and analyze all complaints, motions, applications, orders, and other
18                  pleadings filed with the Court, and advise the Committee with respect to its
19                  position thereon and the filing of any response thereto;
20            k.    assist the Committee in preparing pleadings and applications, and pursuing
21                  or participating in adversary proceedings, contested matters, and
22                  administrative proceedings as may be necessary or appropriate in
23                  furtherance of the Committee’s interests and objectives; and
24            l.    perform such other legal services as may be necessary or as may be requested
25                  by the Committee in accordance with the Committee’s powers and duties as
26                  set forth in the Bankruptcy Code.
27

28
                                              4
Case 8:23-bk-10571-SC           Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                                Main Document     Page 21 of 52


 1   D.         Compensation and Reimbursement of Expenses
 2              8.    The Firm intends to apply for compensation for professional services rendered, and
 3   reimbursement of expenses incurred, in connection with this Bankruptcy Case on an hourly basis,
 4   plus reimbursement of actual, necessary expenses and other charges incurred by the Firm.
 5              9.    Subject to the applicable provisions of the Bankruptcy Code, the Firm will be paid
 6   by the Debtor’s estate based on Fox’s customary hourly rates in effect from time to time and
 7   reimbursed according to its customary reimbursement policies. The Firm’s current hourly rates for
 8   individuals who are likely to work on this Bankruptcy Case are as follows:
 9                       Michael A Sweet – Partner                   $890.00
                         Keith C. Owens – Partner                    $820.00
10                       Michael Herz - Partner                      $620.00
                         Nicholas A. Koffroth – Associate            $640.00
11
                         Stephanie Slater Ward – Associate           $455.00
12                       Other Attorneys at Fox                      $210.00 – 1,075.00
                         Paralegals                                  $100.00 – 465.00
13              10.   The proposed hourly rates are comparable to the fees charged to non-bankruptcy
14   clients.
15              11.   As this Bankruptcy Case proceeds, additional Fox partners, associates and
16   paralegals may be assigned to work on this Bankruptcy Case, and others currently assigned may
17   complete their assigned tasks. To the fullest extent possible, lawyers having the requisite expertise
18   who already have knowledge with respect to these areas and/or the matter involved will be assigned
19   to this Bankruptcy Case so that duplication of efforts is avoided. Consistent with the ranges of
20   hourly rates described above, the hourly rates of the other Fox partners, associates and paralegals
21   that hereafter act for the Committee may be higher or lower than those of the persons presently
22   assigned to this matter.
23              12.   The hourly rates set forth above are subject to annual adjustments, usually on June
24   1st of each year. Fox will timely notify the Trustee, the Committee, the UST, and the Court of any
25   such changes, which changes will be subject to the Court’s approval.
26              13.   The hourly rates set forth above are Fox’s normal hourly rates for work of this type.
27   These rates are set at a level designed to fairly compensate Fox for the work of its attorneys and
28
                                                        5
Case 8:23-bk-10571-SC          Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                               Main Document     Page 22 of 52


 1   paralegals and to cover fixed and routine overhead expenses. In addition, it is Fox’s policy to
 2   charge its clients in all areas of practice for certain other expenses incurred in connection with the
 3   client’s case. The expenses charged to clients include, among other things, charges for messenger
 4   services, overnight delivery services, photocopying, court fees, travel expenses, working meals,
 5   postage, materials for large mailings, computerized legal research facilities, computerized
 6   document inventory and control, investigative searches, and other charges customarily invoiced by
 7   law firms in addition to fees for legal services. Fox will charge for these expenses in a manner and
 8   at rate consistent with charges made generally to Fox’s other clients.
 9   E.     Fox Did Not Receive A Retainer
10          14.     Fox did not receive a retainer with respect to its representation of the Committee,
11   and there is no retainer agreement between the Committee and Fox. It is intended that this
12   Application and the Court’s order approving Fox’s retention will govern Fox’s employment in this
13   Bankruptcy Case, with the Court retaining jurisdiction to resolve any issue that might arise.
14   Payment of Fox will be by the Debtor’s estate not by the individual members of the Committee.
15   F.     Disclosure of Employment Agreement
16          15.     Fox will receive compensation solely from the Debtor’s estate on the terms set forth
17   herein and the procedures established by this Court. With the exception of this Application, there
18   is no other agreement regarding Fox’s employment and there are no arrangements between Fox and
19   any other entity for the sharing of compensation received or to be received in connection with the
20   Bankruptcy Case, except insofar as compensation may be shared among members of Fox.
21   G.     Fox Is Disinterested
22          16.     Fox maintains a computerized database of its client matters. In connection with the
23   proposed retention of Fox by the Committee, Fox performed an internal conflicts search to ensure
24   that Fox does not have a conflict of interest that would prohibit it from representing the Committee
25   in this matter. Specifically, Fox has researched its client database to determine whether it had any
26   relationship with the Debtor, the Debtor’s principals, the bankruptcy estate’s professionals and
27   proposed professionals, the secured creditors, the creditors on Debtor’s List of Creditors Holding
28   20 Largest Unsecured Claims (as amended) [Docket Nos. 6 & 122], and the Trustee.
                                                 6
Case 8:23-bk-10571-SC          Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                               Main Document     Page 23 of 52


 1          17.     To the best of my knowledge, information and belief, the following may be deemed
 2   “connections” that are required to be disclosed under Bankruptcy Rule 2014(a):
 3                         Richard A. Marshack – Current client in his capacity as chapter 7 trustee in
                            In re Dutchints Development LLC, Case No. 21-51255-MEH (Bankr. N.D.
 4                          Cal.). The Firm also serves as special litigation counsel to Larry D. Simons,
                            chapter 7 trustee in In re Better Nutritionals, LLC, Case No. 22-14723. The
 5                          Trustee’s firm, Marshack Hays LLP, serves as general counsel to the chapter
                            7 trustee in that matter.
 6
                           Microsoft Corporation – Represented Microsoft corporation in connection
 7                          with responses to third-party discovery requests propounded by the Trustee
                            in Marshack v. Diab, et al., Adv. Proc. No. 8:23-ap-01046-SC. Microsoft is
 8                          not a creditor of the Debtor’s estate.
 9                         Ajilon – Former client in unrelated matter.
10                         Anthem Blue Cross – Former client in unrelated matter; former litigation
                            and transactional adversity in unrelated matters.
11
                           Beverly Graham – Potential3 transactional adversity in unrelated matter.
12
                           California Franchise Tax Board – Litigation adversity in unrelated matter.
13
                           CT Corporation – Inv. – Litigation adversity in unrelated matter; former
14                          transactional adversity in unrelated matter.
15                         Department of Labor and Industries – Litigation adversity in unrelated
                            matter.
16
                           EnergyCare, LLC – Former client in unrelated matter.
17
                           Franklin Capital Group – Former transactional adversity in unrelated matter.
18
                           Gloria Eaton – Potential3 former litigation adversity in unrelated matter.
19
                           Indiana Department of Revenue – Former litigation adversity in unrelated
20                          matter.
21                         Internal Revenue Service – Litigation adversity in unrelated matter.
22                         JPMorgan Chase – Current client in unrelated matter; transactional adversity
                            in unrelated matters.
23
                           LexisNexus – Former client in unrelated matter; former transactional
24                          adversity in unrelated matter.
25                         Liberty Mutual – Current client in unrelated matter; transactional adversity
                            in unrelated matters; former litigation adversity in unrelated matters.
26

27
     3
       Fox is in the process of determining whether this person or entity is the same person or entity that
28   is the adverse party in an unrelated Fox representation due to the commonality of the creditor name.
                                                       7
Case 8:23-bk-10571-SC          Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                   Desc
                               Main Document     Page 24 of 52


 1                         Netsuite-Oracle – Former client in unrelated matter; transactional and
                            litigation adversity in unrelated matters.
 2
                           Nevada Department of Taxation – Former litigation adversity in unrelated
 3                          matters.
 4                         Pitney Bowes – Former client in unrelated matter; litigation adversity in
                            unrelated matter; former transactional adversity in unrelated matters.
 5
                           Thomson Reuters – Former client in unrelated matter; former transactional
 6                          adversity in unrelated matter.
 7                         Twilio, Inc. – Former transactional adversity in unrelated matters.
 8          18.     Fox is continuing to run a connections check of all creditors on the list of unsecured

 9   creditors. I will promptly file a supplemental disclosure to the extent Fox identifies any additional

10   connections required to be disclosed herein.

11          19.     Due to the size of Fox’s client base, Fox has represented, represents, or may

12   represent in the future certain creditor clients in matters unrelated to this Bankruptcy Case. Fox

13   will not represent any current creditor clients in connection with this Bankruptcy Case. In the event

14   that an actual conflict arises, Fox will seek conflict waivers and take all appropriate actions to

15   ensure there will be no ongoing actual conflict.

16          20.     Similarly, Fox has been adverse to, or may be adverse in the future to, one or more

17   creditors in matters unrelated to this Bankruptcy Case. As discussed above, I will promptly file a

18   supplemental disclosure of additional connections with creditors included on the list of unsecured

19   creditors.

20          21.     To the best of my knowledge, information and belief, Fox does not represent

21   any other entity having an adverse interest in connection with the Bankruptcy Case.

22          22.     To the best of my knowledge, information and belief, none of the attorneys

23   comprising or employed by Fox are related to any judge of the United States Bankruptcy Court

24   for the Central District of California, the United States Trustee for the Central District of California

25   or any person employed in the Office of the United States Trustee for the Central District of

26   California.

27

28
                                                        8
Case 8:23-bk-10571-SC            Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05              Desc
                                 Main Document     Page 25 of 52


 1             23.    Finally, to the best of my knowledge, information and belief, no grounds exist that
 2   would make employment of Fox or any of its attorneys improper under Rule 5002(a) of the
 3   Federal Rules of Bankruptcy Procedure.
 4             24.    Although § 1103(b) does not incorporate the “disinterestedness” standard of
 5   § 327(a), I am not aware of any connection that would prevent Fox or its attorneys from being
 6   “disinterested” persons in the Debtor’s case.
 7             25.    As Fox becomes aware of new parties-in-interest becoming involved in this
 8   Bankruptcy Case, Fox will file supplemental declarations as needed to update the disclosures made
 9   herein.
10             26.    Fox is not a creditor or insider of the Debtor.
11             27.    Fox has no known connections to any insider of the Debtor.
12             28.    Except to the extent the Court allows payment of compensation to the Firm out of
13   the assets of the estate, the Firm has no compensation arrangements with the Debtor or any entity
14   related to the Debtor, the Trustee, the Committee, or any other individual or entity associated with
15   this Bankruptcy Case.
16             29.    Notice of this Application is being given to the Trustee, counsel for the Trustee,
17   the Office of the United States Trustee and those parties who have filed requests for special notice.
18             30.    The foregoing constitutes the statement of the Firm pursuant to §§ 1103 and 504 and
19   Rule 2014(a) of the Bankruptcy Rules.
20             I declare under penalty of perjury that the foregoing is true and correct.
21             Executed July 28, 2023 in Los Angeles, California.
22
                                                              /s/ Nicholas A. Koffroth
23                                                           Nicholas A. Koffroth

24

25

26

27

28
                                                         9
Case 8:23-bk-10571-SC   Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05   Desc
                        Main Document     Page 26 of 52



                                   Exhibit 1
    Case 8:23-bk-10571-SC                 Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                                Desc
                                          Main Document     Page 27 of 52




                                                     Michael A. Sweet
                                                     Partner and Chair, Financial Restructuring and Bankruptcy Department
                                                     msweet@foxrothschild.com



                                                     San Francisco, CA              Los Angeles, CA               New York: 212.878.7900
                                                     Tel: 415.364.5560              Tel: 424.285.7100
                                                     Fax: 415.391.4436




Chair of the firm's nationwide Financial Restructuring & Bankruptcy Department, Michael is an experienced litigator and
bankruptcy attorney who achieves results for his clients by combining collaborative negotiating skills with a hard-hitting, take-
no-prisoners approach to dispute resolution and litigation.

In practice for more than 25 years, he has developed a reputation for efficiency and his ability to find creative solutions to
seemingly intractable disputes.

Michael is among California’s most experienced Chapter 9 municipal bankruptcy attorneys. He has been quoted on the subject
by national news outlets, including The New York Times, CNBC, The Wall Street Journal and Bloomberg News, among others.
Michael is on the Executive Board of the California Bankruptcy Forum, a Member of the San Francisco Human Rights
Commission. He is past-President of the Bay Area Bankruptcy Forum.

In addition, Michael’s diverse practice includes advising companies on cross-border transactions and assisting American
companies pursuing investments abroad.

Litigation
Michael is an accomplished litigator who represents plaintiffs and defendants in commercial and employment disputes,
receivership cases, probate litigation, creditors’ rights issues and class actions. He has brought multiple jury trials to verdict.
His clients include technology companies, trustees, receivers and other fiduciaries, financial institutions, small businesses,
developers and companies in the hospitality industry.

Bankruptcy and Financial Restructuring
In the bankruptcy arena, Michael represents debtors, creditors, creditors’ committees and trustees in bankruptcy disputes
throughout the state of California and nationally. He takes a creative approach to dispute resolution with the goal
of maximizing recovery for clients inside and outside the courtroom. Michael has extensive experience litigating preferences,
fraudulent conveyances, claims objections and plan confirmation, and he frequently advises clients in financial distress on
bankruptcy avoidance. He has secured multimillion-dollar recoveries for clients in preferential transfer and avoidance action
proceedings.

Michael is an appointed Resolution Advocate on the Bankruptcy Dispute Resolution Panel for the U.S. Bankruptcy Court for
the Northern District of California.
    Case 8:23-bk-10571-SC                Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                                Desc
                                         Main Document     Page 28 of 52
Public Entities
Michael represents public entities, including local and state governments and agencies, in disputes in bankruptcy court as well
other courts throughout California. He has assisted multiple government bodies and public agencies in Chapter 9 municipal
bankruptcy proceedings, and in restructuring their finances to avoid Chapter 9 proceedings. He has also represented a
number of public entities in state court receivership matters as well as in the bankruptcy cases of the owners of blighted
properties.

Services
•   Financial Restructuring & Bankruptcy
•   Litigation
•   International
•   Cannabis Law
•   Municipal Insolvency
•   Government Relations
•   Public Finance
•   Bankruptcy Trustee
•   Israel
•   Alternative Dispute Resolution

Before Fox Rothschild
Michael has practiced at various bankruptcy and litigation firms throughout California. Prior to his arrival at Fox, he served as
chair of the municipal debt restructuring and bankruptcy practice group at a California law firm.

He is a former judicial extern for The Hon. Lisa Hill Fenning of the U.S. Bankruptcy Court for the Central District of California.

Beyond Fox Rothschild
Michael has spoken and written extensively on bankruptcy topics, particularly in the arena of government issues related to
potential Chapter 9 bankruptcy filings.

Specifically, Michael was approached by national publications to provide commentary following the ruling that declared the
City of Stockton, California, eligible for Chapter 9 bankruptcy, as well as following Detroit’s bankruptcy filing. He appeared in a
variety of news outlets including:

•   “Braced to Remake Itself, Detroit First Awaits Challenges to Bankruptcy Eligibility ,” - The New York Times
•   “Detroit Files for Bankruptcy ,” – CNBC
•   “Judge Orders Detroit to Withdraw Bankruptcy Filing ,” and “Detroit Files for Bankruptcy ,” CNN Money
•   "Pension Funds Wary as Bankrupt City Goes to Trial " - The New York Times
•   "In Bankruptcy, Stockton Must Decide Pension Issue " - NPR's Morning Edition
•   "Judge to Rule on Whether Stockton, CA Can Enter Bankruptcy Protection " - Fox News
•   "As Reality of Bankruptcy Hits, Stockton Grapples with Hard Decisions " - Which Way, LA? KCRW Radio

Bar Admissions
•   California
•   New York
•   District of Columbia

Court Admissions
•   U.S. Supreme Court
•   U.S. District Court, Central District of California
•   U.S. District Court, Eastern District of California
•   U.S. District Court, Northern District of California
    Case 8:23-bk-10571-SC                Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                         Desc
                                         Main Document     Page 29 of 52
•   U.S. District Court, Southern District of California

Education
•   University of California, Los Angeles, School of Law (J.D., 1996)
•   Brandeis University (B.A., cum laude, 1991)

Memberships
•   Bar Association of San Francisco
•   Bench-Bar Liaison Committee for the U.S. Bankruptcy Court for the Northern District of California, Co-Chair
•   California Political Attorneys’ Association
•   California State Democratic Central Committee

Board of Directors
•   Commissioner, San Francisco Human Rights Commission (Chair 2011-2014; Vice Chair 2009-2011 and 2016-2020)
•   Bay Area Bankruptcy Forum (President, 2019-2020)
•   California Bankruptcy Forum, Vice President (Board Member, Past Secretary 2021; Treasurer 2020; Conference Co-
    Chair, 2020-2021)
•   The College Preparatory School, Trustee (Oakland, CA)

Honors & Awards
•   Recognized in the Chambers USA Guide for Bankruptcy/Restructuring in California (2022)
•   Named a "Small Turnaround of the Year" honoree by TMA Chicago/Midwest Chapter (2022)
•   Named to the list of "Top 100 Restructuring Professionals: Distinction in Dealmaking" by the Global M&A Network (2022)
•   Listed as a "Recognized Practitioner" (2021) and "Notable Practitioner" (2020, 2022) in the Legally Israel 100 by Israel
    Desks
•   Named a Trailblazer in the West by The American Lawyer (2022)
•   Selected to a list of the Top 100 Restructuring Professionals by Global M&A Network. (2022)




Experience
•   Counsel for the Official Committee of Unsecured Creditors of Katerra (Bankr. S.D. Tex.).
•   Co-counsel for the Official Committee of Unsecured Creditors of Avadim Health, Inc. (Bankr. D. Del.).
•   Counsel for the Official Committee of Unsecured Creditors of It'Sugar LLC (Bankr. S.D. Fla.).
•   Co-counsel for the Official Committee of Unsecured Creditors of Unipharma LLC. (Bankr. S.D. Fla.).
•   Counsel for the Official Committee of Unsecured Creditors of MobiTV, Inc. (Bankr. D. Del.).
•   Counsel for the Official Committee of Unsecured Creditors of Remington Outdoor Company (Bankruptcy N.D. Ala.).
•   Counsel for the Official Committee of Unsecured Creditors of Comcar Industries, Inc. (Bankr. D. Del.).
•   Counsel for the Official Committee of Unsecured Creditors of Anka Behavioral Health (Bankr. N.D. Cal.).
•   Counsel for the Official Committee of Unsecured Creditors of Heavenly Couture (Bankr. C.D. Cal.).
•   Counsel for the Official Committee of Unsecured Creditors of SpeedVegas (Bankr. D. Del.).
•   Counsel for the Official Committee of Unsecured Creditors of West Contra Costa Healthcare District (Bankr. N.D. Cal.).
•   Counsel for the Official Committee of Unsecured Creditors of Tri-Valley Learning Corporation (Bankr. N.D. Cal.).
•   Counsel for the Official Committee of Unsecured Creditors of Fresh & Easy, Inc. (Bankr. D. Del.).
•   Counsel for the Official Committee of Unsecured Creditors of NJOY, Inc. (Bankr. D. Del.).
•   Counsel for the Official Committee of Unsecured Creditors of Santa Cruz Berry Farming, Inc. (Bankr. N.D. Cal.).
•   Counsel for major secured creditor in Chapter 9 case of Kennewick Public Hospital (Bankr. E.D. Wash.).
    Case 8:23-bk-10571-SC              Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                            Desc
                                       Main Document     Page 30 of 52
•   Lead counsel for Palm Drive Health Care District in its Chapter 9 case (Bankr. N.D. Cal.).
•   Assisted the city of Richmond, California, in restructuring its finances to avoid filing for bankruptcy.
•   Successfully represented a California county in negotiations with state regulators over a budget shortfall to prevent the
    need for a Chapter 9 filing.
•   Served as lead bankruptcy counsel to the Official Committee of Equity Investors in California Mortgage and Realty (CMR)
    cases in the Northern District of California, which involved more than 1,200 equity investors with claims based on more
    than $200 million in investments.
•   Represented a Healthcare District in obtaining significant concessions from creditors thereby avoiding a Chapter 9
    bankruptcy filing.
•   Represented City of Eureka, California, in a Chapter 11 matter involving the owner of 30 parcels of blighted commercial
    and residential real estate.
•   Represented City of Oakland in a bankruptcy matter involving a residential hotel.
    Case 8:23-bk-10571-SC                  Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                           Desc
                                           Main Document     Page 31 of 52




                                                       Keith C. Owens
                                                       Partner
                                                       kowens@foxrothschild.com



                                                       Los Angeles, CA
                                                       Tel: 424.285.7056
                                                       Fax: 310.556.9828




Keith is a strategic ally for clients involved in bankruptcy proceedings, workouts and other insolvency matters, including
receiverships and assignments for the benefit of creditors and creditors' rights litigation.

A former bankruptcy appellate law clerk who has argued before the Ninth Circuit Court of Appeals and appeared before the
U.S. Supreme Court, he is experienced in all facets of bankruptcy, insolvency, distressed acquisitions and dispositions. He
concentrates his practice on:

•   Chapter 11 plan restructuring and related litigation
•   Subchapter V bankruptcy
•   Section 363 sales and sales pursuant to a Chapter 11 Plan
•   Out-of-court workouts
•   Valuation disputes
•   Single-asset real estate cases
•   Structured and closed debtor-in-possession (DIP) financing
•   Cash collateral transactions on behalf of lenders and debtors
•   Adversary proceedings including fraudulent conveyance, preference and D&O litigation
•   Bankruptcy appeals

Keith represents commercial debtors, creditors' committees, secured and unsecured secured creditors, officers, directors and
equity holders before bankruptcy and federal district courts throughout the United States, as well as landlords and tenants,
licensors and licensees, counterparties to contracts and other major constituencies. His clients include businesses and
individuals in a wide range of industries, including entertainment and sports, health care, cannabis, alcohol and beverage,
technology, credit card processing, construction, commercial real estate and hospitality.

In addition to his federal work, Keith has led creditors' rights litigation in California state courts.

Lenders and Loan Servicers
Keith also works extensively with lenders and commercial mortgage-backed securities (CMBS) servicers regarding real
property secured loan litigation and real estate owned (REO) disposition matters, including:

•   Judicial and non-judicial foreclosures
•   Guarantor litigation
•   Lender liability litigation
    Case 8:23-bk-10571-SC                Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                              Desc
                                         Main Document     Page 32 of 52
•   Enforcement of pre- and post-judgment remedies, including:
        o Receivership appointments
        o Injunctions
        o Workouts
        o Loan restructurings
        o Forbearances
        o Discounted payoffs
        o Note sales

Keith is an editor of and a frequent contributor to the firm’s “In Solvency” blog, which covers bankruptcy and financial
restructuring issues.

Services
•   Financial Restructuring & Bankruptcy
•   Entertainment & Sports Law
•   Cannabis Law
•   Residential Health Care Facilities

Before Fox Rothschild
Prior to joining Fox Rothschild, Keith was a Partner in the Bankruptcy and Creditors' Rights Practice at two AmLaw 100 law
firms.

Keith began his legal career as a trial law clerk for the Honorable Christopher M. Klein of the United States Bankruptcy Court
for the Eastern District of California, and as an appellate law clerk to the Honorable John E. Ryan, who served on the United
States Bankruptcy Appellate Panel for the Ninth Circuit. Prior to attending law school, Keith worked as a writer for Tig
Productions and various Los Angeles–based entertainment magazines.

Bar Admissions
•   California

Court Admissions
•   U.S. Supreme Court
•   U.S. Court of Appeals, Ninth Circuit
•   U.S. District Court, Central District of California
•   U.S. District Court, Eastern District of California
•   U.S. District Court, Northern District of California
•   U.S. District Court, Southern District of California
•   U.S. Bankruptcy Court, Central District of California
•   U.S. Bankruptcy Court, Eastern District of California
•   U.S. Bankruptcy Court, Northern District of California
•   U.S. Bankruptcy Court, Southern District of California

Education
•   Southwestern Law School (J.D., cum laude)
•   University of California, Los Angeles (B.A.)

Memberships
•   American Bankruptcy Institute
•   Financial Lawyers Conference
•   Beverly Hills Bar Association (2011)
    Case 8:23-bk-10571-SC               Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                               Desc
                                        Main Document     Page 33 of 52
        o Executive Committee of the Bankruptcy Section and former Section Chair
•   Los Angeles County Bar Association
        o Executive Committee of the Commercial Law and Bankruptcy Section
•   Los Angeles Bankruptcy Forum
•   Orange County Bankruptcy Forum
•   Turnaround Management Association

Board of Directors
•   Musica Angelica (2014-2015)

Honors & Awards
•   Recognized in Chambers USA, Bankruptcy/Restructuring, California (2015-2016, 2018)
•   Among Southern California Super Lawyers, Bankruptcy and Creditors' Rights (since 2009)
•   Recognized in Super Lawyers Business Edition, Bankruptcy, Los Angeles (2013)
•   Recognized among Super Lawyers' Rising Stars, Bankruptcy and Creditors' Rights (2006, 2008)


Representative Matters
•   Argued Ninth Circuit appeal in U.S. Bank Nat'l Ass'n v. Village at Lakeridge, LLC, 814 F.3d 993, 1001 (9th Cir. 2016) on
    the issues of whether an assignee of an insider claim was a non-statutory insider disqualified on voting to confirm a plan
    of reorganization under 11 U.S.C. § 1129(a)(10) and whether the acquisition and solicitation of the insider claim was
    made in bad faith for purposes of 11 U.S.C. § 1129(a)(6)
•   Drafted Petition for Certiorari, granted in part by the United States Supreme Court in U.S. Bank Nat'l Ass'n v. Village at
    Lakeridge, LLC, 138 S. Ct. 960, 2018 WL 1143822 (Mar. 5, 2018)
•   Represented the official committee of unsecured creditors in the bankruptcy of Katerra, a vertically integrated group of
    construction technology firms that raised close to $3 billion in equity investments but was never able to generate a profit.
•   Represented the Official Committee of Bondholders in the Farmland Industries Chapter 11 case filed in the United States
    Bankruptcy Court for the Eastern District of Missouri.
•   Represented the Official Committee of Unsecured Creditors of RCR Plumbing in the United States Bankruptcy Court for
    the Central District of California.
•   Represented the Organization of Parishes (consisting of over 98 parishes) of the San Diego Catholic Diocese in the
    Chapter 11 case of the San Diego Catholic Diocese.
•   Represented various automotive suppliers in General Motors and Chrysler bankruptcies cases filed in the United States
    Bankruptcy Court for the Southern District of New York.
•   Represented various broker-dealers in the Lehman Brothers Chapter 11 bankruptcy and SIPA proceedings.
•   Represented trade creditors in various retail bankruptcies and out-of-court workouts.
•   Represented landlords in various retail bankruptcies.
•   Represented roofing, solar, and battery company as debtors in possession in Chapter 11 bankruptcy case in the U.S.
    Bankruptcy Court for the District of Nevada
•   Represented music producer and consultant in a Subchapter V bankruptcy case, and successfully confirmed the
    Subchapter V Plan.
•   Represent land developer as Chapter 11 debtor in U.S. Bankruptcy Court for the Central District of California.
•   Represented auto parts manufacturer Fluid Routing Solutions and its affiliated debtor entities in their Chapter 11
    bankruptcy cases filed in United States Bankruptcy Court for the District of Delaware.
•   Represented auto parts manufacturer Diamond Glass, Inc. and its affiliated debtor entities in their Chapter 11 bankruptcy
    cases.
•   Represented Vista Hospital System (comprising French Hospital, Arroyo Grande Hospital and Corona Regional Medical
    Center) in its Chapter 11 bankruptcy cases filed in the United States Bankruptcy Court for the Central District of California.
•   Represented a rehabilitation center in an out-of-court workout.
•   Represented former officers of a major hospital system in multimillion-dollar avoidance litigation commenced by a
    liquidating trustee in the U.S. Bankruptcy Court for the Central District of California.
•   Represented Care1st Health Plan in its acquisition of WattsHealth d/b/a UHP Healthcare HMO for $30 million in the
    WattsHealth Chapter 11 bankruptcy case filed in the United States Bankruptcy Court for the Central District of California.
    Case 8:23-bk-10571-SC              Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                           Desc
                                       Main Document     Page 34 of 52
•   Represented the County of Contra Costa in connection with its funding of West Contra Costa Healthcare District, d/b/a
    Doctors Medical Center, in its Chapter 9 bankruptcy case filed in the United States Bankruptcy Court for the Northern
    District of California.
•   Represented purchasers and/or stalking horse bidders in various nursing home, senior living, and assisted living
    bankruptcies.
•   Represented the shareholders of Metabolife International, Inc. in Metabolife’s Chapter 11 case filed in the United States
    Bankruptcy Court for the Southern District of California.
•   Represented a former officer in the Rhythm & Hues Studios Inc. Chapter 11 bankruptcy case in the United States
    Bankruptcy Court for the Central District of California.
•   Represented a former officer in the Nutracea Chapter 11 bankruptcy case in the United States Bankruptcy Court for the
    District of Arizona.
•   Represented mezzanine lender in the Cupertino Square Chapter 11 bankruptcy case in the United States Bankruptcy
    Court for the Northern District of California.
•   Represented some of the nation's largest special servicers of CMBS assets on all aspects of commercial real estate loan
    workouts, bankruptcies, foreclosure and receivership litigation.
•   Represented prints and advertising lenders Endgame Releasing Company, LLC and Endgame Releasing Funding, LLC in
    the Chapter 11 bankruptcy cases filed by Los Angeles-based film production and distribution company Open Road. Films,
    LLC, and certain debtor affiliates, in the United States Bankruptcy Court for the District of Delaware.
•   Represented numerous actors, producers, directors and writers as counter-parties to contracts in The Weinstein
    Company Chapter 11 bankruptcy cases in the United States Bankruptcy Court for the District of Delaware.
•   Represented talent clients in the Relativity Media Chapter 11 bankruptcy cases filed in the United States Bankruptcy
    Court for the Southern District of New York.
•   Represents intellectual property licensors and licensees in bankruptcy cases and Assignment for the Benefit of Creditors
    proceedings throughout the United States.
•   Represents asset purchasers, lenders and assignees in Assignment for the Benefit of Creditors proceedings.



Events
October 27, 2021
Chapter 11 Basics for Secured Lenders
Webinar

October 8, 2021
Off the Clock During the NCBJ
Tavern on South

June 30, 2021
Strategies to Avoid Lender Liability
Webinar

December 3, 2020
Putting the Puzzle Together: Bankruptcy Issues Facing Franchisors
Webinar

October 22, 2020
COVID-Induced Stress: Bankruptcy and Other Solutions for Health Care Providers
Webinar

July 21, 2016
You May Be Healthy, But What About Your Provider? Dealing With Troubled Healthcare Providers
Lawry’s the Prime Rib
   Case 8:23-bk-10571-SC            Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                    Desc
                                    Main Document     Page 35 of 52
March 4, 2016
Restructuring, Insolvency & Troubled Companies 2016 Opportunity Amidst Crisis - Buying Distressed Assets, Claims
and Securities for Fun & Profit
Webinar

November 3, 2015
Appellate Practice 101
Webinar

March 24, 2015
The World of SARE Cases
Hyatt Regency Century Plaza

November 14, 2012
Bankruptcy Nuts and Bolts

April 1, 2010
Strategic Considerations for Suppliers When Dealers and Franchisees Go 'Belly Up
Milwaukee, WI

April 28, 2009
Healthcare Business Bankruptcies

April 16, 2009
Safely Structuring Acquisitions of Assets and Protecting Property Rights From Distressed US Companies
Tokyo, Japan

April 1, 2009
Strategies and Solutions in a Troubled Economy
Milwaukee, WI

March 1, 2005
INSOL 2005 Turnaround & Reorganization Meeting
Sydney, Australia


Publications
June 22, 2022
9th Circuit Ruling Offers Guidance on Automatic Stay Violations
Law360

Spring 2021
Subchapter V Bankruptcy Is Available for Franchise Companies
American Bar Association: The Franchise Lawyer

December 10, 2020
Bankruptcy Issues in Franchising: An Overview

December 4, 2020
The Uncertain Future of Distressed Cannabis Bankruptcies and the 2020 Elections
New Cannabis Ventures

June 9, 2020
Checklist: COVID-19 Crisis Management for Entertainment Industry Businesses
   Case 8:23-bk-10571-SC             Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                      Desc
                                     Main Document     Page 36 of 52
May 22, 2020
The E-Z Pass Bankruptcy Solution for Franchise Companies
The Legal Intelligencer

April 1, 2020
CARES Act Enhances Viability of Chapter 11 Reorganizations for Small Businesses

May 22, 2019
Distressed Cannabis Companies See Hope in 9th Circ. Ruling
Law360

September 2016
Supreme Court Expands the Definition of "Actual Fraud" by Making Fraudulent Conveyances Non-Dischargeable
Under 11 U.S.C. Section 523(a)(2)(A)
Pratt's Journal of Bankruptcy Law

March 7, 2016
When the Party's Over: How to Minimize Risk in Distress
Law360

June 20, 2014
Retailer Bankruptcies: What Suppliers Need to Know
Chain Store Age

March 2013
A Hail Mary or Bad Faith Filing? Why Assignment of Insider Claims to Non-Insider Parties Cannot Be Used to Confirm
a Cramdown Plan
The Banking Law Journal

June 2012
When Worlds Collide – The Impact of a Chapter 11 Bankruptcy on the Receivership Estate
Financier Worldwide

May 26, 2011
Arbitration, Bankruptcy and Commercial Agreements: The ABC’s of Enforceability of Arbitration Clauses in
Bankruptcy
DailyDAC

April 7, 2011
Giving Teeth to a Repeat-Filing Statute
Law360

February 9, 2010
The Future of SPEs in Light of General Growth
Law360

November 1, 2006
Health Care Providers and the Automatic Stay: Is Medicare Termination Different Than Exclusion?
ABI Journal

September 14, 2005
Are You in the Zone? Additional Duties Imposed on Directors of a Corporation in the "Zone of Insolvency"
Mondaq
   Case 8:23-bk-10571-SC             Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05   Desc
                                     Main Document     Page 37 of 52
October 2004
The Perils of Plan Confirmation: Speak Now or Forever Hold Your Peace
ABI Journal

January 2004
Bankruptcy Sales: A Banker's Guide
The Banking Law Journal


News
November 24, 2022
Bankruptcy in America: Tracking Commercial and Personal Filings by State

July 12, 2021
Katerra Approved For Ch. 11 Loan Deadline Extension

March 12, 2020
Fox Welcomes Bankruptcy Partner Keith Owens in Los Angeles
    Case 8:23-bk-10571-SC               Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                              Desc
                                        Main Document     Page 38 of 52




                                                   Nicholas A. Koffroth
                                                   Associate
                                                   NKoffroth@foxrothschild.com



                                                   Los Angeles, CA               Las Vegas, NV
                                                   Tel: 424.285.7070             Tel: 702.699.5930
                                                   Fax: 310.556.9828             Fax: 702.597.5503




Nick focuses his practice on complex bankruptcy cases and financial restructuring matters. His bankruptcy experience
includes work in the commercial real estate, health care, commercial lending and entertainment sectors.

Bankruptcy
Nick has broad-based experience in nearly all facets of bankruptcy and insolvency matters. His bankruptcy practice includes:

•   Chapter 11 plan restructuring and related litigation
•   Section 363 sales
•   Valuation disputes
•   Single-asset real estate cases
•   Debtor-In-Possession (DIP) financing
•   Adversary proceedings
•   Bankruptcy appeals
•   Claim disputes

Nick represents a broad range of bankruptcy stakeholders. He has represented debtors in matters ranging from the second
largest hospital bankruptcy case in U.S. history to Subchapter V cases. Nick has represented official committees of creditors in
health care bankruptcy cases, official committees of equity security holders in post-confirmation litigation and an ad hoc
committee in negotiations related to confirmation of a real estate Ponzi-scheme case. He also represents a wide range of
other bankruptcy stakeholders, including secured and unsecured creditors, landlords, tenants, franchisors, franchisees,
directors and officers.

Nick has represented businesses and individuals in a wide range of industries, including commercial real estate, health care,
entertainment, apparel, hospitality, sports and technology.

Litigation & Appellate Matters
Nick aggressively litigates high-stakes matters in bankruptcy, federal and state courts, including post-confirmation equity
holder disputes, state and federal agency challenges to bankruptcy sales, and breach of contract matters with potential
damages in excess of $100 million. He handles pre-trial practice, motions practice, fact and expert discovery, witness
preparation, appellate practice, and counsels clients regarding litigation strategy, settlement and future liability.
    Case 8:23-bk-10571-SC                Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                                Desc
                                         Main Document     Page 39 of 52
Nick has drafted briefs in appeals before various U.S. District Courts and Bankruptcy Appellate Panels, the 9th Circuit Court of
Appeals, and the U.S. Supreme Court.

Lenders & Loan Servicers
Nick also works extensively with lenders and commercial mortgage-backed securities (CMBS) servicers regarding real
property-secured loan litigation. His CMBS experience spans state, federal and appellate courts in matters including guarantor
litigation, lender liability litigation, borrower liability litigation (including state law fraud and breach of contract claims),
intercreditor disputes and foreclosure actions. Nick also represents lenders in the entertainment space and has obtained
favorable rulings for prints and advertising lenders in connection with bankruptcy sales.

Thought Leadership
Nick is actively involved in local and national bankruptcy organizations. In addition to writing nationally published articles, Nick
is a regular contributor to the firm’s "In Solvency" blog which covers current bankruptcy and financial restructuring issues.

Services
•   Financial Restructuring & Bankruptcy

Representative Matters
•   Represented Verity Health System of California, Inc., and 16 related entities, including six acute care operating hospitals,
    in their chapter 11 cases — the second largest hospital bankruptcy case in American history with more than $1.4 billion of
    debt. During the cases, the court approved the sale of Verity’s hospitals and senior living facility, and confirmed the joint
    plan of liquidation, which resolved complex litigation and created a liquidating trust for the benefit of creditors. The sale of
    Verity’s nonprofit assets raised unique issues related to the transfer of health care assets in bankruptcy, including the
    scope of the powers of the Attorney General and the transfer of medical provider agreements, which led to
    groundbreaking decisions. During the cases, Verity also collaborated with the attorneys for the California Governor’s
    Office of Emergency Services to reopen St. Vincent Medical Center in Los Angeles, and to set aside beds at Seton
    Medical Center in the Bay Area to treat COVID-19 patients.
•   Represented the trustee and the trustee board in the post-confirmation, jointly administered cases of ICPW Liquidation
    Corp. (formerly In re Ironclad Performance Wear Corp, et al.) in post-confirmation litigation and related distribution
    matters.
•   Drafted petition for certiorari, granted in part by the U.S. Supreme Court in U.S. Bank Nat'l Ass'n v. Village at Lakeridge,
    LLC, 138 S. Ct. 960, 2018 WL 1143822 (Mar. 5, 2018) and related merits briefing.
•   Represented prints and advertising lenders Endgame Releasing Company, LLC and Endgame Releasing Funding, LLC in
    the Chapter 11 bankruptcy cases filed by Los Angeles-based film production and distribution company Open Road Films,
    LLC, and certain debtor affiliates, in the U.S. Bankruptcy Court for the District of Delaware.
•   Represented a global watch company as a Chapter 11 debtor, completing a 363 sale of the company’s assets in less than
    two months after the commencement of bankruptcy, and obtaining court approval of the company’s Chapter 11 plan in
    under four months.
•   Represented numerous actors, producers, directors and writers as counterparties to contracts in The Weinstein Company
    Chapter 11 bankruptcy cases in the U.S. Bankruptcy Court for the District of Delaware.
•   Represented talent clients in the Relativity Media Chapter 11 bankruptcy cases filed in the U.S. Bankruptcy Court for the
    Southern District of New York.
•   Represented asset purchasers and potential purchasers in conducting diligence and submitting bids in connection with
    bankruptcy asset sales.
•   Represented some of the nation's largest special servicers of CMBS assets on all aspects of commercial real estate loan
    workouts, bankruptcies, foreclosure and receivership litigation.

Publications
Samuel R. Maizel, Tania M. Moyron & Nicholas Koffroth, “Medicare, Medicaid Provider Agreements May Transfer Free and
Clear in Bankruptcy,” Journal of Corporate Renewal, Sept. 2020.
    Case 8:23-bk-10571-SC                Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                              Desc
                                         Main Document     Page 40 of 52
Samuel R. Maizel, Tania M. Moyron, Nicholas Koffroth & Sarah M. Schrag, “The Effect of the Global Pandemic on Hospitals in
America: The Rich Get Richer, But for the Rest …, ” Journal of Bankruptcy Law & Practice, Aug. 2020.

Andrew J. Currie & Nicholas A. Koffroth, “Sino Clean Energy, Inc. v. Seiden (In re Sino Clean Energy, Inc.): Authority to File
and the Tension Between Bankruptcy and Receivers,” Norton Bankruptcy Legal Adviser, April 2019.

Before Fox Rothschild
Prior to joining Fox, Nicholas was a senior managing associate in the Restructuring, Insolvency and Bankruptcy Group of an
international law firm, based in its Los Angeles office. Before that, he was an associate in the Los Angeles office of a national
law firm.

Nick began his legal career as a law clerk in the U.S. Bankruptcy Court for the Central District of California. During his time
with the Bankruptcy Court, Nick clerked for the Honorable Sandra R. Klein, the Honorable Thomas B. Donovan, the Honorable
Neil W. Bason, the Honorable Victoria Kaufman and the Honorable Sheri A. Bluebond.

Bar Admissions
•   California
•   District of Columbia
•   Nevada
•   New York

Education
•   Loyola Law School (J.D., 2012)
•   University of California, Los Angeles (B.A., 2008)

Memberships
•   Los Angeles Bankruptcy Forum
•   Beverly Hills Bar Association, Bankruptcy Section
         o Chair, Executive Committee (2018-2019)
•   American Bar Association
         o Business Bankruptcy Committee, Vice Chair of the Content and Publications Subcommittee
•   California Bankruptcy Forum Conference
         o Young Insolvency Professionals Co-Chair


Board of Directors
•   Los Angeles Bankruptcy Forum (2019 - 2021)

Honors & Awards
•   Selected to the “Ones to Watch” list for Bankruptcy & Creditor Debtor Rights/Insolvency & Reorganization Law, Real
    Estate Law (2021-2023) Entertainment & Sports Law (2023) and Health Care Law (2023) by Best Lawyers
•   Selected to the “Rising Stars” list for Bankruptcy and Creditor Debtor Rights (2019-2021) and Bankruptcy: Business
    (2022) in Southern California by Super Lawyers


Publications
October 12, 2021
Critical Vendor Order Insufficient to Protect Critical Vendors Against Preference Claims
Harvard Law School Bankruptcy Roundtable
   Case 8:23-bk-10571-SC            Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05   Desc
                                    Main Document     Page 41 of 52
September 15, 2021
Bankruptcy Eligibility Is Expanding For Small Biz Debtors
Law360
    Case 8:23-bk-10571-SC               Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                              Desc
                                        Main Document     Page 42 of 52




                                                   Michael R. Herz
                                                   Partner
                                                   mherz@foxrothschild.com



                                                   Morristown, NJ                New York, NY
                                                   Tel: 973.548.3330             Tel: 212.878.7900
                                                   Fax: 973.992.9125             Fax: 212.692.0940




Michael centers his practice on complex bankruptcy and insolvency matters.

His diverse and dynamic practice spans representation of Chapter 7 and Chapter 11 trustees, creditor committees, post-
confirmation trusts, individual creditors – including financial institutions, loan servicers and landlords – and debtors in all
phases of the bankruptcy process. Michael also has deep experience in adversary proceedings and other bankruptcy-related
litigation and has facilitated the recovery and administration of millions of dollars in assets and claims. In 2022, Michael was
appointed to the Lawyers Advisory Committee for the U.S. Bankruptcy Court for the District of New Jersey, which serves as a
conduit between the bankruptcy bar and the Board of Bankruptcy Judges in the state.

Michael is adept at finding creative legal solutions to difficult problems. In trustee cases, he has earned a reputation for
uncovering fraudulent conduct and tracking down hidden assets. Always focused on maximizing return for the estate or
recovery for creditors, Michael uses innovative arguments and his deep knowledge of the Bankruptcy Code to optimize the
client’s position going into any negotiation.

For businesses in the cannabis sector that encounter financial difficulties, Michael advises and has written and presented on
alternatives to traditional bankruptcy, including assignments for the benefits of creditors, receiverships and workouts.

In a niche practice, Michael has developed a particular fluency in issues related to student loans in the bankruptcy context and
in other litigation. He represents student loan servicers as creditor in bankruptcy court and in defending claims under the Fair
Credit Reporting Act and the Telephone Consumer Protection Act. Michael has also written and spoken on this and other
bankruptcy-related topics.

An active member of the American Bankruptcy Institute, Michael is a Contributing Editor of the ABI Journal, overseeing the
“Trustee Talk” column, and previously served for several years as an Associate Editor. He serves on the advisory board for the
ABI’s Mid-Atlantic Bankruptcy Conference and is a prolific industry thought leader who has published articles in the ABI
Journal, Law360, Bloomberg Law, The Legal Intelligencer and the New Jersey Law Journal, among others. He is also an
editor of and a frequent contributor to the firm’s “In Solvency” blog, which covers bankruptcy and financial restructuring issues.

Services
•   Financial Restructuring & Bankruptcy
•   Bankruptcy Litigation
•   Cannabis Law
•   Bankruptcy Trustee
    Case 8:23-bk-10571-SC              Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                             Desc
                                       Main Document     Page 43 of 52

Beyond Fox Rothschild
Michael is a member of the Board of Trustees for the Kessler Foundation, a leading organization in researching treatments for
spinal and neurological injuries and conditions. He also participates in the annual Duberstein Bankruptcy Moot Court
Competition as a brief grader.

Before Fox Rothschild
Prior to joining Fox, Michael was an attorney at a leading insolvency boutique. He also previously worked at firms in New
Jersey and New York, where he represented clients in both bankruptcy and litigation matters.

In law school, Michael was a notes and comments editor for the Brooklyn Journal of International Law.

Bar Admissions
•   New Jersey
•   New York

Court Admissions
•   U.S. Court of Appeals, Third Circuit
•   U.S. District Court, District of New Jersey
•   U.S. District Court, Southern District of New York
•   U.S. District Court, Eastern District of New York

Education
•   Brooklyn Law School (J.D., 2008)
•   Brandeis University (B.A., with high honors, 2003)

Memberships
•   Lawyers Advisory Committee for the U.S. Bankruptcy Court for the District of New Jersey
•   American Bankruptcy Institute
        o Contributing Editor, ABI Journal, overseeing “Trustee Talk” column
        o Advisory Board, Mid-Atlantic Regional Conference
        o Former Associate Editor of ABI Journal
        o Member, Circuit Court Opinion Editorial Board
•   American Bar Association
•   Bankruptcy Inn of Court (former student)
•   New Jersey State Bar Association
•   Turnaround Management Association
        o Vice President of Membership, NJ Turnaround Management Association Board


Board of Trustees
•   Kessler Foundation (ad hoc member)


Honors & Awards
•   Selected to the "40 Under 40 Emerging Leaders in Insolvency" list by the American Bankruptcy Institute (2021)
    This award is conferred by the American Bankruptcy Institute. A description of the selection methodology is available
    here. No aspect of this advertisement has been approved by the Supreme Court of New Jersey.
    Case 8:23-bk-10571-SC             Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                           Desc
                                      Main Document     Page 44 of 52
•   Selected to the "Super Lawyers - Rising Stars" list for Bankruptcy Law in New Jersey (2014-2018, 2021-2012)
    This award is conferred by Thomson Reuters. A description of the selection methodology is available here. No aspect of
    this advertisement has been approved by the Supreme Court of New Jersey.
•   Article included in American Bankruptcy Institute's Best of ABI 2019: The Year in Consumer Bankruptcy, "A Parent’s Quid
    Pro Quo"
•   Recipient of Prince Merit Scholarship at Brooklyn Law School
    Case 8:23-bk-10571-SC               Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                                  Desc
                                        Main Document     Page 45 of 52




                                                   Stephanie Slater Ward
                                                   Associate
                                                   sslater@foxrothschild.com



                                                   Wilmington, DE
                                                   Tel: 302.622.4261
                                                   Fax: 302.656.8920




Stephanie assists clients with a broad range of bankruptcy, financial restructuring and insolvency matters.

She is also a contributor to the firm’s “In Solvency” blog, which covers bankruptcy and financial restructuring issues.

Services
•   Financial Restructuring & Bankruptcy

Before Fox Rothschild
Prior to joining Fox Rothschild, Stephanie was a summer associate with the firm. During law school, Stephanie worked as a
Student Attorney at the Villanova Law Federal Tax Clinic and served as an Associate Editor of the Jeffrey S. Moorad Sports
Law Journal. Stephanie was also a judicial extern to the Honorable Kevin Carey of the U.S. Bankruptcy Court for the District of
Delaware.

Before attending law school, Stephanie worked as an Asset Management Group Analyst with PNC Bank.

Bar Admissions
•   Delaware

Education
•   Villanova University School of Law (J.D., 2020)
•   Lehigh University (B.S., Dean's List, 2016)

Memberships
•   Financial Restructuring & Bankruptcy Department

Honors & Awards
•   Named a "Small Turnaround of the Year" honoree by TMA Chicago/Midwest Chapter (2022)
Case 8:23-bk-10571-SC               Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05            Desc
                                    Main Document     Page 46 of 52


 1   Michael A. Sweet (SBN 184345)
     Keith C. Owens (SBN 184841)
 2   Nicholas A. Koffroth (SBN 287854)
     FOX ROTHSCHILD LLP
 3   10250 Constellation Blvd., Suite 900
     Los Angeles CA 90067
 4   Telephone:    (310) 598-4150
     Facsimile:    (310) 556-9828
 5   msweet@foxrothschild.com
     kowens@foxrothschild.com
 6   nkoffroth@foxrothschild.com
 7   Proposed Counsel For Official Committee of Unsecured Creditors
 8

 9                                  UNITED STATES BANKRUPTCY COURT
10                                   CENTRAL DISTRICT OF CALIFORNIA
11                                            SANTA ANA DIVISION
12       In re:                                              Chapter 11
13       THE LITIGATION PRACTICE GROUP                       Case No. 8:23-bk-10571-SC
         P.C.,
14                                                           DECLARATION OF APRIL RIEDY IN
15                                                           SUPPORT APPLICATION FOR ORDER
                   Debtor.                                   AUTHORIZING EMPLOYMENT OF
16                                                           FOX ROTHSCHILD LLP AS COUNSEL
                                                             FOR THE OFFICIAL COMMITTEE OF
17                                                           UNSECURED CREDITORS,
                                                             EFFECTIVE AS OF JUNE 29, 2023
18

19                                                           [No Hearing Required Pursuant to
                                                             LBR 9013-1(o)]
20
                  I, April Riedy, hereby declare and state as follows:
21
                  1.     I am the Chairperson for the Official Committee of Unsecured Creditors (the
22
     “Committee”) in the above-captioned case (the “Bankruptcy Case”). I make this declaration in
23
     support of the Application for Order Authorizing Employment of Fox Rothschild LLP as Counsel
24
     for the Official Committee of Unsecured Creditors, Effective as of June 29, 2023 (the
25
     “Application”) and for all other purposes authorized by law.3 I am over the age of 18, am mentally
26

27
     3
28    Unless otherwise defined herein, all capitalized terms have the definitions set forth in the
     Application.
Case 8:23-bk-10571-SC           Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                                Main Document     Page 47 of 52


 1   competent, have personal knowledge of the facts in this matter, except where stated as based upon
 2   information and belief, and if called upon to testify, could and would do so.
 3           2.       On June 23, 2023, the Office of the United States Trustee (the “UST”) appointed
 4   [Docket No. 134] the Committee, which consisted of the following five members: Alexadra Lufti;
 5   April Riedy; Denise Burtchell; Angela Dows; and Thomas Ray. On June 29, 2023, the UST
 6   expanded [Docket No. 157] the Committee’s membership from five to seven members with the
 7   addition of Affirma, LLC and Abigail R. Beaudin.
 8           3.       On June 29, 2023, the Committee duly selected Fox as counsel to represent it during
 9   the pendency of the Bankruptcy Case.
10           4.       Effective as of July 3, 2023, the Committee adopted bylaws governing the decision-
11   making and conduct of the Committee. Pursuant to the bylaws, I was duly appointed chair of the
12   Committee.
13           5.       The Committee seeks to employ Fox to advise and assist in carrying out its duties
14   in this bankruptcy case. The Committee believes that it is in the best interest of the unsecured
15   creditors for the Committee to retain Fox to advise and assist it in connection with all proceedings
16   of concern to the unsecured creditors and the Committee, including but not limited to those
17   set forth in the Application.
18           6.       I understand that Fox’s attorneys are skilled counsel in bankruptcy and insolvency
19   cases and have significant experience in the areas of business reorganization and creditor/debtor
20   matters. I understand that the Fox attorneys who will assist the Committee have served as counsel
21   to numerous unsecured creditors’ committees.
22           7.       The Committee has been informed that the hourly rates set forth in the
23   Application are the Fox’s normal hourly rates for work of this type. I understand that these
24   rates are set at a level designed to fairly compensate Fox for the work of its attorneys and paralegals
25   and to cover fixed and routine overhead expenses. In addition, I understand that is Fox’s policy to
26   charge its clients in all areas of practice for certain other expenses incurred in connection with each
27   client’s case.
28
                                                       2
Case 8:23-bk-10571-SC           Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05             Desc
                                Main Document     Page 48 of 52


 1          8.      The Committee has been informed that Fox reviews all client billings for
 2   reasonableness and makes adjustments so that the charges are consistent with the value of the
 3   services provided.
 4          9.      Throughout this case, the Committee will review the fees and expenses incurred by
 5   Fox to manage costs. The Committee understands that Fox increases the hourly billing rates for its
 6   professionals and paraprofessionals every year, usually effective June 1. The Committee consents
 7   to such ordinary course rate increases with the proper notice.
 8          10.     Fox has provided the Committee with a staffing plan, which the Committee has
 9   approved. The Committee understands that the staffing plan may, in Fox’s discretion, be revised
10   as conditions warrant. The Committee will review any amended staffing plan.
11          11.     Based on the foregoing, the Committee believes that is in the best interests of the
12   Committee to retain Fox.
13          I declare under penalty of perjury that the foregoing is true and correct.
14          Executed July 28, 2023 in West Bloomfield Township, Michigan.
15

16

17                                                ______________________________
                                                             April Riedy
18

19

20

21

22

23

24

25

26

27

28
                                                      3
Case 8:23-bk-10571-SC              Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                                   Main Document     Page 49 of 52


 1                                  PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is 10250 Constellation Boulevard, Suite 900, Los Angeles, CA 90067.
 3
     A true and correct copy of the foregoing documents entitled: NOTICE OF OPPORTUNITY TO
 4   REQUEST A HEARING ON MOTION on the judge in chambers in the form and manner required by
     LBR 5005-2(d); and (b) in the manner stated below:
 5
     1.    TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
 6   to controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On 7/28/2023, I checked the CM/ECF docket for this bankruptcy case or
 7   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
     receive NEF transmission at the email addresses stated below:
 8
            Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
 9          Peter W Bowie peter.bowie@dinsmore.com, caron.burke@dinsmore.com
            Ronald K Brown ron@rkbrownlaw.com
10          Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
            Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
11
            Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
            Randall Baldwin Clark rbc@randallbclark.com
12
            Leslie A Cohen leslie@lesliecohenlaw.com,
13           jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
            Jenny L Doling jd@jdl.law,
14           dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com
            Daniel A Edelman dedelman@edcombs.com, courtecl@edcombs.com
15          Christopher Ghio christopher.ghio@dinsmore.com, Kristina.Heller@Dinsmore.com
            Jeffrey I Golden jgolden@go2.law,
16           kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;gestrada@wgllp.com;go
             lden.jeffreyi.b117954@notify.bestcase.com
17          Richard H Golubow rgolubow@wghlawyers.com,
             jmartinez@wghlawyers.com;svillegas@wghlawyers.com
18          D Edward Hays ehays@marshackhays.com,
             ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
19           oza@ecf.courtdrive.com
            Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
20          Garrick A Hollander ghollander@wghlawyers.com,
             jmartinez@wghlawyers.com;svillegas@wghlawyers.com
21
            Razmig Izakelian razmigizakelian@quinnemanuel.com
22          Joon M Khang joon@khanglaw.com
            Ira David Kharasch ikharasch@pszjlaw.com
23          Meredith King mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law
            Nicholas A Koffroth nkoffroth@foxrothschild.com, khoang@foxrothschild.com
24          David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
            Christopher J Langley chris@slclawoffice.com,
25           omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
            Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
26          Michael D Lieberman mlieberman@lipsonneilson.com
            Yosina M Lissebeck Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com
27          Richard A Marshack (TR) pkraus@marshackhays.com,
             rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
28          Laila Masud lmasud@marshackhays.com,
             lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
     Active\118774763.v1-1/20/21
Case 8:23-bk-10571-SC              Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                 Desc
                                   Main Document     Page 50 of 52


 1                                  PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is 10250 Constellation Boulevard, Suite 900, Los Angeles, CA 90067.
 3
     A true and correct copy of the foregoing documents entitled: NOTICE OF OPPORTUNITY TO
 4   REQUEST A HEARING ON MOTION on the judge in chambers in the form and manner required by
     LBR 5005-2(d); and (b) in the manner stated below:
 5
     1.    TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
 6   to controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On 7/28/2023, I checked the CM/ECF docket for this bankruptcy case or
 7   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
     receive NEF transmission at the email addresses stated below:
 8
            Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
 9          Peter W Bowie peter.bowie@dinsmore.com, caron.burke@dinsmore.com
            Ronald K Brown ron@rkbrownlaw.com
10          Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
            Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
11
            Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
            Randall Baldwin Clark rbc@randallbclark.com
12
            Leslie A Cohen leslie@lesliecohenlaw.com,
13           jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
            Jenny L Doling jd@jdl.law,
14           dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com
            Daniel A Edelman dedelman@edcombs.com, courtecl@edcombs.com
15          Christopher Ghio christopher.ghio@dinsmore.com, Kristina.Heller@Dinsmore.com
            Jeffrey I Golden jgolden@go2.law,
16           kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;gestrada@wgllp.com;go
             lden.jeffreyi.b117954@notify.bestcase.com
17          Richard H Golubow rgolubow@wghlawyers.com,
             jmartinez@wghlawyers.com;svillegas@wghlawyers.com
18          D Edward Hays ehays@marshackhays.com,
             ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
19           oza@ecf.courtdrive.com
            Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
20          Garrick A Hollander ghollander@wghlawyers.com,
             jmartinez@wghlawyers.com;svillegas@wghlawyers.com
21
            Razmig Izakelian razmigizakelian@quinnemanuel.com
22          Joon M Khang joon@khanglaw.com
            Ira David Kharasch ikharasch@pszjlaw.com
23          Meredith King mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law
            Nicholas A Koffroth nkoffroth@foxrothschild.com, khoang@foxrothschild.com
24          David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
            Christopher J Langley chris@slclawoffice.com,
25           omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
            Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
26          Michael D Lieberman mlieberman@lipsonneilson.com
            Yosina M Lissebeck Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com
27          Richard A Marshack (TR) pkraus@marshackhays.com,
             rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
28          Laila Masud lmasud@marshackhays.com,
             lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
     Active\118774763.v1-1/20/21
Case 8:23-bk-10571-SC               Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                     Desc
                                    Main Document     Page 51 of 52


 1           Kenneth Misken Kenneth.M.Misken@usdoj.gov
             Byron Z Moldo bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,dperez@ecjlaw.com
 2           Alan I Nahmias anahmias@mbn.law, jdale@mbnlawyers.com
             Victoria Newmark vnewmark@pszjlaw.com
 3           Queenie K Ng queenie.k.ng@usdoj.gov
             Keith C Owens kowens@foxrothschild.com, khoang@foxrothschild.com
 4           Teri T Pham tpham@epglawyers.com, ttpassistant@epglawyers.com;dle@epglawyers.com
             Douglas A Plazak dplazak@rhlaw.com
 5
             Daniel H Reiss dhr@lnbyg.com, dhr@ecf.inforuptcy.com
 6           Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
             Gregory M Salvato gsalvato@salvatoboufadel.com,
 7            calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
             Olivia Scott olivia.scott3@bclplaw.com
 8           Jonathan Serrano jonathan.serrano@dinsmore.com
             Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
 9           Zev Shechtman zs@DanningGill.com,
              danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
10           Leslie Skorheim leslie.skorheim@usdoj.gov
             Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;howard-steinberg-
11            6096@ecf.pacerpro.com
             Andrew Still astill@swlaw.com, kcollins@swlaw.com
12           United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
             Sharon Z. Weiss sharon.weiss@bclplaw.com,
13            raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com
             Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com
14

15   2.     SERVED BY UNITED STATES MAIL: On July 28, 2023, I served the following persons and/or
     entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
16   correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
     as follows.
17
     Parties served by U.S. mail:
18
     Debtor
19   The Litigation Practice Group P.C.
     17542 17th St., Suite 100
20   Tustin, CA 92780

21   Grobstein Teeple LLP
     23832 Rockfield Blvd suite 245
22   Lake Forest, CA 92630

23   Nancy B. Rapoport
     University of Nevada, Las Vegas
24   4505 S. Maryland Parkway
     Box 451003
25   Las Vegas, NV 89154

26   Jason Patterson Stopnitzky
     52 Cupertino Circle
27   Aliso Viejo, CA 92656

28   Lucy L. Thomson
     1455 Pennsylvania Avenue, N.W., Suite 400
     Washington, DC 20004
Case 8:23-bk-10571-SC            Doc 345 Filed 07/28/23 Entered 07/28/23 18:13:05                       Desc
                                 Main Document     Page 52 of 52


 1    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION
     OR EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
 2   LBR, on July 28, 2023, I served the following persons and/or entities by personal delivery, mail service, or
     (for those who consented in writing to such service method), by facsimile transmission and/or email as
 3   follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
     judge will be completed no later than 24 hours after the document is filed.
 4

 5   The Honorable Scott C. Clarkson
     United States Bankruptcy Court, Central District of California
 6   411 West Fourth Street, Suite 5130 / Courtroom 5C
     Santa Ana, CA 92701-4593
 7

 8
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct
 9

10       7/28/2023             Kimberly Hoang                                   /s/ Kimberly Hoang
         Date                     Printed Name                                           Signature
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
